Case
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                  RSB:SND                                                                                         200015

                  IN THE SUPREME COURT                                             P-509
                  OF NEW SOUTH WALES                                         Case No. 9:18-CV-89176-BB
                  COMMON LAW DIVISION

           5      ACTING REGISTRAR KENNA

                  WEDNESDAY 6 NOVEMBER 2013

                  2013/00245661 - CRAIG STEVEN WRIGHT v W & K INFO DEFENSE
          10      RESEARCH
                  2013/00225983 - CRAIG STEVEN WRIGHT V W & K INFO DEFENSE
                  RESEARCH

                  Plaintiff appeared in person
          15      No appearance of or for the Defendant

                                                                       ---

                  PLAINTIFF: Registrar, Craig Wright, W-R-I-G-H-T.
          20
                  REGISTRAR: So you’ve put on your affidavit?

                  PLAINTIFF: I have.

          25      REGISTRAR: This matter, does it travel with matter 59 as well?

                  PLAINTIFF: It does, Registrar.

                  REGISTRAR: And this is a matter where we’ve got some consent orders in
          30      respect of a statement of claim?

                  PLAINTIFF: Yes.

                  REGISTRAR: The registrar wanted more information before--
          35
                  PLAINTIFF: Yes, I’m now the sole shareholder in an American company. I
                  can’t act as director over there because of regulations. I own all the shares
                  over here and want to bring everything back in. The Australian Tax Office has
                  been notified of all the valuations and whatever else. It’s just a matter of -
          40      unfortunately, the director that I had over there died three days before
                  settlement. So the contract has been done, signed and everything else. Most
                  of the assets have been transferred, some are in escrow. Unfortunately, three
                  days before final settlement he passed away.

          45      REGISTRAR: Yes, okay. Let me just have a look at your affidavit.
                  So the intellectual property has all been transferred?

                  PLAINTIFF: It has. The main purpose is just to formalise everything and
                  make sure that nothing actually goes wrong or happens later and whatever
          50      else. The contract was finalised, but unfortunately settlement didn’t occur on

                  .06/11/13                                      1
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           the 30th as Mr Kliman(?) dies on the 27th.

           REGISTRAR: In respect of matter 56 I make orders 1 through 4 of the consent
           order in this matter. I know that that brings this matter to a conclusion.
       5
           In respect of matter 59 I make orders 1, 2 and 3 of the consent orders and I
           note that that also brings this matter to a conclusion.

           PLAINTIFF: Thank you.
      10
           REGISTRAR: Thank you, you may be excused.




           .06/11/13                         2
